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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES -GENERAL
Case No          CV16-166 FFM                                                  Date   September 12, 2018
Title            LFP IP, LLC v. Lee Keith Brett




Present: The Honorable         Frederick F/. l~umm, United States Magistrate Judse
                     James Munoz                                             Sheri Kleeger
                     Deputy Clerk                                        Court Smart /Recorder
               Attorney Present for Plaintiff                        Attorneys Present for Defendant:
                      Mark Hoffman                                            Jason Strabo
                     Jonathan Brown                                          Jessica Mariam


Proceedings:          PRETRIAL CONFERENCE



         Case called. Counsel make their appearance.

      Final pretrial conference held as stated on the record. Motions in Limine are
denied as moot.

        Final Pretrial Conference Order to follow.




                                                                                              :15
                                                                                              JM




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